Case 1:07-cv-01205-LG-RHW Document 300-11 Filed 11/13/09 Page1of11

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

GARY BRICE MCBAY PLAINTIFF
V. CIVIL ACTION NO. 1:07CV1205-LG-RHW

HARRISON COUNTY, MISSISSIPPI BY AND
THROUGH ITS BOARD OF SUPERVISORS;
HARRISON COUNTY SHERIFF GEORGE PAYNE;
WAYNE PAYNE; DIANE GATSON RILEY;

STEVE CAMPBELL; RICK GATSON; RYAN TEEL;
MORGAN THOMPSON; JOHN DOES 1-4;
AMERICAN CORRECTIONAL ASSOCIATION;
JAMES A GONDLES, JR.; UNKNOWN DEFENDANTS
1-3 EMPLOYEES OF AMERICAN CORRECTIONAL
ASSOCIATION; HEALTH ASSURANCE LLC AND
UNKNOWN DEFENDANTS 1-2 EMPLOYEES OF
AMERICAN CORRECTIONAL ASSOCIATION DEFENDANTS

STATE OF MISSISSIPPI

COUNTY OF HARRISON

AFFIDAVIT OF WARDEN DONALD CABANA
HARRISON COUNTY SHERIFF’S OFFICE

PERSONALLY CAME AND APPEARED BEFORE ME the undersigned authority
in and for the County and State aforesaid, the within named, DONALD CABANA, who,
after first being duly sworn by me on his oath, did depose and state the following:

1. My name is DONALD CABANA, and | am over the age of twenty-one (21)

years. | am the Director of Corrections for the Harrison County Adult
Detention Center and have held this position since August 18, 2006. | have

personal knowledge of the matters and facts contained in this Affidavit and

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| am competent to testify to the matters stated herein.

2. As Director of Corrections for the Harrison County Sheriff's Office, | have first
hand knowledge of the maintenance and/or storage of records of the
Harrison County Sheriff's Office for the Adult Detention Center and what
those records reflect, including inmate medical records, inmate court records,
and policies of the Harrison County Sheriff's Office.

3. | have attached hereto as Exhibit “1" relevant portions of Plaintiff's inmate
records. They are a true and correct copy of Plaintiff's inmate records
contained in the files of the Harrison County Adult Detention Center, which
are maintained in the regular course of the law enforcement function of the
Sheriff of Harrison County and the Harrison County Adult Detention Center,
and were generated in the regular course and pursuant to the regular
activities of and duties imposed by law upon the office of the Harrison County
Sheriff and made at or near the time of the matters set forth or from
information transmitted by, a person with knowledge of those matters.

4. | have attached hereto as Exhibit “2" relevant portions of Plaintiff's medical

records contained in the files of the Harrison County Adult Detention Center,
which are maintained in the regular course of the law enforcement function
of the Sheriff of Harrison County and the Harrison County Adult Detention
Center, and were generated in the regular course and pursuant to the regular
activities of and duties imposed by law upon the office of the Harrison County
Sheriff and made at or near the time of the matters set forth or from

information transmitted by, a person with knowledge of those matters.

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| certify the above declaration is true and correct under penalty of perjury.

. pp

Jey) [A

Affiant/Donald Cabana
Harrison County, Mississippi

Sworn to and subscribed before me on this the \Q day of November, 2009.
\\

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“gf M884 Hoban ome pole
\ we Notary Public -

expires:

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june 23, 2019 4
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Pisae Ce

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Case 1:07-cv-01205-LG-RhAYYON BOCWTERLEOGEES pEBHed. 1/19/08" “Page 4 of 11

HCSD FILE #

UNIFORM ARREST / BOOKING FORM

CJ

JUVENILE INVOLVED

NAME (LAST, FIRST,

MIDDLE)

ALIAS OR NICKNAME (LAST, FIRST, MIDDLE,ECT}

CASE NUMBER

MCBAY, GARY BRICE N/A 05-21728

ADDRESS CITY STATE ZIP CODE HOME PHONE NUMBER

1109 SILVERCREEK DE SOTO TX 75115 N/A

OCCUPATION / EMPLOYER CITY STATE ZIP CODE WORK PHONE NUMBER

UNEMPLOYED N/A N/A N/A N/A

AGE DATE OF BIRTH SOCIAL SECURITY NUMBER DRIVERS LICENSE NUMBER STATE

29 te, js, 16889131 TX

SEX RACE HEIGHT | WEIGHT | HAIR EYES HISPANIC | PLACE OF BIRTH (CITY, STATE)

M Ww 506 150 BLONDE BLUE NO DALLAS, TX

L] scars [1] marks ([] tatroos [1] amputations

NONE

FB! NUMBER OTHER ALIAS INFORMATION

EMERGENCY CONTACT RELATIONSHIP HOME PHONE WORK PHONE ADDRESS

NONE

HOW ARREST WAS MADE JUDGE WARRANT DATE

oncalt MP oonview[(_] on warrant]

CHARGE FELT] wisp kl OFFENSE DATE CASES CAUSE # BOND AMOUNT BOND AO

PUBLIC DRUNK 11-06-05 05-21728 $ 500.00 1ST JUSTICE

DISPOSITION OF CHARGE "= MiISD COURT DATE COURTTDISTRICT.

12-14-05 IST JUSTICE

CHARGE FELL] miso] OFFENSE DATE CASE # CAUSE # BOND AMOUNT BOND A/D
$

DISPOSITION OF CHARGE MISD COURT DATE COURT / DISTRICT

CHARGE FELL] miso OFFENSE DATE CASE # CAUSE # BOND AMOUNT BOND A/a
$

DISPOSITION OF CHARGE MISD COURT DATE COURT / DISTRICT

CHARGE FEL Ol MISD Ol OFFENSE DATE CASE # CAUSE # BOND AMOUNT . BOND A/O
$

DISPOSITION OF CHARGE. MISD COURT DATE COURT DISTRICT

CAPIAS-FINE $ CASH ONLY TOTAL MISD BOND TOTAL FELONY BOND TOTAL BOND

$ N/A S 500.00 $ NA $ 500.00

ARRESTING AGENCY (NAME) ORI

Harrison County Sheriff's Department MS0240000

DATE OF ARREST TIME LOCATION OF ARREST .

11-06-05 1953 HOURS 18009 TILLMAN RD. GULFPORT, MS 39503

ARRESTING OFFICER (# & NAME) ASSISTING OFFICER (# & NAME) INVESTIGATOR HANDLING CASE

# 75 N. ALLEN ¢ 93 RR. BORJA
DETENTION DATE/TIME | OFFICER (# & NAME) CELL PROPERTY PHONE CALL MADE (YES/NO)

DOCKET FAGILITY PICTURE FINGERPRINTS
ADULT DETENTIONL] JUVENILE DETENTIONL] SHELTERLIoTHERLI {| YESLJ NOC] yes{] Nol]

NCIC INQUIRY NEGATIVEL] | Nic# CHARGE AGENCY

_ POSITIVE
RELEASE DATE? OFFICER (& NAME) RELEASE STATUS (BOND, TIME SERVED, ECT) SHERIFF'S RECEIPT NUMBER.
TIME
NCIC INQUIRY NEGATIVE.) | NIC# CHARGE AGENCY

POSITIVE

PAGE

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02

Case 1:07-cv-0120

C1 JUVENILE INVOLVED

ste

OFFENSE FORM |

RHW Document 300-TT

Fed FOR ac FA&.S of 1h5.54948

tine

1. Type Offense 2. Code 3. Type Offense 4. Code 5. Offense Occurred
o | PUBLIC DRUNK L929) Earies steer
F 5. Date Offense Reported 7. Time Offense Reported Date Date
E {11-06-05 1929 HOURS 11-06-05 _ | 11-06-05
ny [8. Location of Offense (Street Address) Time Time
gs [18009 TILLMAN RD. GULFPORT, MS 39503 1929 1953
& [9. Firm Name (If Commercial) 490. Grid 41. Patrol Area 42, Shift . 13. Day(s) of Week Occured
CHOPPERS LOUNGE N/A S. WEST MIDNIGHT S MTWTES
Vv 14. Victim's Name (Last, First, Middie) 15. Residence Address 16. Res, Phone
|
¢ 17. Victim DOB 18. Sex 19. Race | 20. Employer/School 21. Business/Schoal Address 22. Bus. Phone
i 23, CLV MERP } 24. Name (Last, First, Middle) 25, Residence Address 26. Res. Phone
M MmwP | RANDAZZO, THOMAS SSN XXX-XX-XXXX 1906 46TH AVE. GULFPORT, MS 39501 228-547-4393
& 2 27. DOB 28. Sex |29, Race | 30. Employer/School 31. Business/School Address 32. Bus. Phone
w i Ww CHOPPERS LOUNGE 18009 TILLMAN RD. GULFPORT, MS 39503 UNKNOWN
! 33. CV ME RP | 34. Name, (Last, First, Middie) 35, Residence Address : 36. Res. Phone
T owoP | ALLEN, KENNETH N. ON FILE ON FILE -
N 3 37. DOB 38.Sex |39.Race 440. Empioyer/School 41. Business/School Address 42. Bus, Phone
E ON FILE M HARRISON CO. SHERIFF DEPT. P.O. BOX 1480 GULFPORT, MS 228-865-7060
s : a : :
5 43. Victim/Suspect Relationship o A 4 Stranger oj 4 G Acquaintance a do Relative a Aleonal Related
45. Status-| 46 Oty [ 47 Article 48. Brand, Make or 49. Model Name 50. Description 5%. Serial No. And/Or | 52. Value
Manufacturer and Number (Color/Size) Owner Applied No. :
Orgs
fr Oo
Oreos
OROD -
PiOedOs
ROR Oo
a e Cre fs" Sys
E OrReHp
Rp {OEOSs
T Roo
y|Oeds
ORO.
OeOs
Vv OrROod
E | VEHICLE 53, License No. 54, State 55. Veh. Yr. 56. Make/Style 57, Model 58. Color/Color 59. Value
H{OeEOS
i (OR OD
Cc 460. VIN Number 61, Vehicle Marks/ Damage/ Decals/Comments
L
E
62. Narrative of Offense (Attach Additional Narrative If Needed)
ON 11-06-05 DEPUTY ALLEN RESPONDED TO CHOPPER LOUNGE IN REFERENCE A DRUNK AND DISORDERLI
COMPLAINT. UPON ARRIVAL DEPUTY ALLEN SPOKE TO THOMAS RANDAZZO WHO STATED THAT A WHITI
N |MALE, LATER IDENTIFIED AS GARY MCBAY, WAS DISTURBING THE BUSINESS AND ASKED TO LEAVE. MR
‘ RANDAZZO SAID THAT HE WATCHED AS MR. MCBAY WAS LEAVING AND NOTICED HIM FALLING OVER ANI
R JHITTING OTHER VEHICLES. MR. RANDAZZO TOLD MR. MCBAY THAT HE DID NOT NEED TO BE DRIVING AND TC
t WAIT FOR THEM TO CALL HIM A TAXI MR. RANDAZZO STATED THAT MR. MCBAY THEN ATTEMPTED TC
| JASSAULT HIM. MR. RANDAZZO THEN GRABBED MR. MCBAY AND HELD HIM DOWN UNTIL THE SHERIFF'S DEP
x ARRIVED, DEPUTY ALLEN OBSERVED MR. RANDAZZO SITTING ON TOP OF MR. MCBAY AND NOTICED THAT MR
MCBAY HAD A BLOODY NOSE, AMR RESPONDED AND MR. MCBAY REFUSED ANY TREATMENT. DEPUTY ALLE
THEN PLACED MR. MCBAY INTO CUSTODY AND TRANSPORTED HIM TO THE JAIL. MR. MCBAY WAS CHARGEL
WITH PUBLIC DRUNK
63. Evidence Disposition (Location) §3A. ComplainantVictim
Signature:
64. MOI (Reverse Side) CODE CODE | 65. OFFENSE STATUS
1, Type of Premise FE 7. Weapon Type - OPEN CLOSED
2, Object of Attack - 8. Use of Weapon : a ee Poe Pollo Oe a 3 mented Ceventions! Adt.
M 3. Point of Eniry = 9. Method of Departure C Ol 56 Detective Follow-Up £7 30 Cleared Juvenile Custody
; 4, Method of Entry = 10. Demeanor of Suspect F mie nee a os bther Cleared Exception
5. Method of Attack (Person) ~ 11. Evidence Obtained = CI Will Sign Later (1 70 Unfounded
8. Method of Attack (Property) - 12. Place of Offense Cc
- 13. Solvability Factors A
be Reaping Officer N. ALLEN 87. DIMSICB A TROL pe a me Sy rvigor: "I pe /oS

70. Follow-Up Officer:

No, °

Name

72, Aitachments V 1 Narative CI Other
{] Offense Form! i Custody Form (Describe)

71. Date/Time Assigned

#

*V-Victim RP-Reporting Party
W-Witness P-Parent

**Status: E-Evidence S-Stolen
R-Recovered D-Damaged

White - Records
Canary - Crime Analysis

Pink - Court/CID
Gold - Patrol

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02
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Harrison County Adult Detention Center

George Payne, Sheriff
Use of Force Report
1)Date: 2)Time: 3)Location: 4)Incident Number
ff. 16.2023" Z/8e Ars Footie
5)Inmate’s Name: ~ | 6)Date of Birth: 7)Sex:
“ie fA 5 Gary ]Male — []Female
8)Docket Number: 9)Block: 10)Section: 11)Cell:  *
278 BFE AYA - WA DLA
12)Reason for use of Force: 7 7 :
Necessary to defend another officer [_] To restrain for inmate’s safety
Necessary to defend another inmate [_] Other:

[X' To prevent violent behavior

13) Was inmate injured? | 14) Transported? 15)Destination: 16) Screened by medical?

" AY,
[Wyes [Jno | Llyes [No Aa (Aves [] No

17) # of inmates that resisted: | 18) # of officers present: 19)Supervisor notified / tume: 20) Notified superysor’s signature:
Ser arith 2M, bes 5 Bess

_| 21) At the ime of the incident, the inmate was:
By Hostile Behavior [\iSuspected under the influence of alcohol / drugs [_] Mentally impaired

Other:

22) Describe the inmate’s injuries:

Facra, Weucde , ase (Seef)

23) Levels of resistance:

K\] Psychological Intimidation: Explain: .
(non-verbal cues indicating inmate’s attitude or physical readiness) (ier LV fia Z
Lara ST

(J Verbal-Non Compliance: Explain: Lava a CLL We EL) VA PUESS Oger Liga say

(verbal responses or threats of non-compliance to officer’s directions)

h<] Passive Resistance: Explain: byuch Mer Coht# Abe Tw L bute CAR Meat Cmaps

(dead weight or clinging to objects in an attempt to prevent the officer from gaining control)

[_] Defensive Resistance: Explain:
(pushing, pulling, or mnning away from the officer to avoid control; never attempting to harm the officer)

hd Active Aggression: Explain: Ligeetl) Latur’ Tinnbseds. Stree Avo Milessp tlm Tal Lie

(physical actions of assault)

["] Aggravated Active Aggression: Explain:

(assaults with a weapon)

24) Levels of Control: (Officer Presence is Implied)

Bd] Verbal Direction: Explain: UB av Mas Vio Tk Corp VE TE erred $ newb ERY Lug

(commands of direction)

4 ? AAg Z
| Empty Hand Control (([] Soft (Xf Hard):Explain CuO PhO Sve TP “haortee ' ALE
[] physical touch [] joint locks [_]pressure points Mhand strikes {_] leg strikes

Body Part: HAd Chale Body Part:

[_]Intermediate Weapons: (Chemical etc.):

[_] Impact Weapons: (primary or alternative) :

[] Lethal Force: specify: (Firearms or other lethal force employed) :

25)Reporting Officer Division Reviewing supervisor: Disposition Date: Page:
No. LLY Name: Tiptree! BE OSIV Es No. 4$77 Name: 7%-44~-5 J of 7#

Inmate file Director of Corrections ___ Captain of Security Inmate medical file Shift Records__ Officer file_
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Harrison County Adult Detention Center
George Payne, Sheriff —
Use of Force Report
Pressure Point Control Target Areas [ Chemical Sprey Target Area

Mandibular Angle (P.P.)

Infra orbital Nerve {PP}.

Jape noth {PP} dypoglossal Nerve [PP]
Bréchial Piexus (Origin) (H.E.H4
nates a tee ‘Brachial Plexus (Clavical Notch}
Bracid Plemy Tie-in ae yee, {P.P}
(HEH) y ”

é , \ Radial Nepve (HEH. LW

Median Nerve.
(EEK, LW]

Femoral Nerve (H.E.H, 1.W,}

‘oramon Peroneal Nerve

7 (HERLLW)
Effects of Chemical Spray
26) Was Spray Effective? Were Further Control Methods
Tibial Nerve (HEH, LW} Needed?
[] Yes [_]No [}Yes L] No.
Number of Times Sprayed: Approximate distance from subject:
Eyes: Skins
[]closure [tears []Noeffect | [] Redness [7] Burning [] No effect
Nose: Chest:
["] Discharge [7] Irritation [|] No effect | [7] Coughing [[JLabored Breathing
O.C. Spray administrative warning? Decontamination:
Start Time:
[| Yes [_] No Time: End Time:
P.P. ---Pressure point Variables affecting levels of control
HEH---Hard empty hand 1, Officer / subject size and gender
LW. ---Impact Weapon 2. Environmental conditions and totality of circumstances

3, Reaction time

This section to be completed by Medical staff only!

27) Injuries Sustained by officer:

‘£4 yes [[] No .

Explain: OCicer wos arained lon roamate ancdk Wik seveya \ times An the -Keacl.

28) Injuries Sustained by Inmate:

[yes [] No Explain: Small SuperCicial alwasion ts buctt ot peak swoilen locusied © 2h

29) Location of Examination: ‘Becki AC 30) Examined PO
-Time of Examination: “ico Staff Name: CLIO OW won torn Badge #:
31) Mees | treatment administered: 32)Signature of Physician:

hi Yes (]

Explain: BP (Bo]ge PRir Alle. J ARO x3 PERL
°9) Nerrati: “hn Piocech In Shower te Oss okt z/m _atabed atfiter aad
nik Wim sexeval men in Yoo heack. Tim Nas srkall super Ficie | eid
to Yoacll ob head . SWalen ancdk luce d © eu. . PELCLE , AAOXA .
DP _okner INU s “ote cho ad Orese nib Ting, 9 OC conan
a)/m _sinhed when _asiled 14 As Ja NGS SAI A tlm states *HRlo
pap “you Oees Amt hurt. CAI "Chew \eSeZ La

34) Inmate Classification:

{_] Juvenile [7] Minimum security [7] Medium [ | Maximum security [ | Inmate worker

35) Reviewing Shift Lieutenant: Division: 36) Disposition:

No. Name: | []Closed []Open [] Under review

Inmate file. Director of Corrections —- Captain of Security Inmate medical file — Shift Records _—«- Officer file

_ 2) Juvenile lgvalysd7.cv.012b5.1G-RHW Dodlf Read Me AERME ied 14/1

BE Original Report

Type IncidentiC oe:

Date of This Repo.

Date of Original Report

([] Offense Supplement INFORMATIONAL 11/06/2005 11/06/2005
(J Custody Supplement Suspect/Victim Name List Complaint Numbers of Connected Cases
[1] Other MCBAY,GARY # 278873

Status Qty. Article Brand/Make ' Model Name Description Serial No. or OAN Value

ON NOVEMBER 6TH 2005, DEPUTY M. THOMPSON #224 WAS POSTED IN THE BOOKING DEPARTMENT FOR THE.
1900 - 0700 HOURS SHIFT. AT APPROXIMATELY 2115 HOURS DEPUTY THOMPSON WAS PERFORMING THE DRESS
OUT PROCEEDURE WITH NEW INMATE MCBAY, GARY H.C.A.D.C. DOCKET #278873. INMATE MCBAY APPEARED
__ INTOXICATED BUT STILL ABLE TO FOLLOW VERBAL COMMANDS GIVEN BY DEPUTY THOMPSON. WHEN
DEPUTY THOMPSON ASKED MCBAY TO REMOVE HIS (MCBAY) CLOTHING, MCBAY INDICATED THAT HE
WOULD NOT "GET NAKED " AND TOOK AN AGGRESSIVE POSTURE TOWARDS DEPUTY THOMPSON WITH
RAISED CLOSED FISTS. DEPUTY THOMPSON MOVED TOWARD MCBAY TO EMPLOY A SOFT EMPTY HAND
CONTROL HOLD AND MCBAY THEN GRABBED DEPUTY THOMPSON BY THE SHIRT AND STRUCK DEPUTY
THOMPSON APPROXIMATELY 2 TIMES ON THE SIDE OF THE HEAD WITH A CLOSED FIST. DURING THE ATTACK —
DEPUTY THOMPSON FELT HE WAS IN PHYSICAL DANGER AND RETURNED MULTIPLE BLOWS WITH CLOSED
FISTS TO THE HEAD AND FACE AREA OF MCBAY.DEPUTY THOMPSON STOPPED ALL ACTIONS WHEN MCBAY
LET GO OF HIS (THOMPSONS) SHIRT . DEPUTY THOMPSON REQUESTED MEDICAL EVALUATION VIA RADIO DUE
TO MCBAY BLEEDING FROM THE NOSE AND FACIAL SWELLING. MEDICAL NURSE EVALUATED MCBAY AT
APPROXIMATELY 2125 HOURS AND FOUND NO SERIOUS INJURIES TO HIS PERSON. MCBAY THEN COMPLIED
WITH ALL FURTHER INSTRUCTIONS GIVEN BY DEPUTY THOMPSON AND COMPLETED THE DRESS OUT
PROCESS WITH NO FURTHER INCIDENT. DEPUTY THOMPSON TOOK NO FUTHER ACTION IN THIS MATTER.

END OF NARRATIVE

DISPOSITION

L] A. Cleared Adult Arrest

[] 8. Cleared Exceptional Adult

CL] C. Cleared Juvenile Custody

[CJ D. Cleared Exceptional Juvenile
LC] E. Unfounded

CJ F. Other - Cleared Exceptional
(1 G. Suspended Closed

Reporting Officer: Division - : Reviewing Supervisor: Disposition Date
No. 224 Name M.LTHOMPSON BOOKING No. Name

White - Records Canary - Crime Analysis Pink - Courl/CID Gold - Patrol Page O1 Of O1

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Case peat CAN EREUREL

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[ NURSES NOT ES .

ALLERGIES

| EXHIBIT

NURSE NOTES

QPADEVUU> Abel P6944)-01205-LG-RHW Document 300-11 Filed 11/13/09 Page t86f149: 44:14

fen) Next Screen (24) Exit
Docket: CJ 278783 File # 92765 Name MCBAY,GARY BRICE
1) Obvious pain/bleeding/injury/illness requiring medical treatment? Y
INMATE HAD A BLOODY NOSE WHEN HE CAME IN SEEN BY MEDICAL —
2) Was taken to nospital prior to intake? N

3) Appear UI Aicchol Y . Drugs N
INMATE UI OF ALCOHOL
4) Visible signs of Alcohol/Drug withdrawal? N

5) Obvious signs of fever/jaundice/infection which might be contagious? N

6) Skin free of vermin? Y
CLEAN —

7) Difficulty understanding questions or spoken language? Y
INMATE MAKING STRANGE STATEMENTS —

QPADEV 0 (Cadel 0-079/-01205-LG-RHW Document 300-11 Filed 11/13/09  Pagetipt1io: 41:12

(en) Next Screen (4) Previous Screen (24) Exit
Docket: CJ 278783 File # 92765 Name MCBAY,GARY BRICE
8) Experiencing/Demonstrating/exhibiting Signs of Stress Y Assaultive Y
Anger Y Hostility Y Violent Behavior Y Lifeless reaction -
Passive N Depression N Disorientation Y Hearing Voices
Bizarre Behavior Y Extreme emotions Y Nervousness
INMATE ACTING VERY BIZARRE AND TALKING TO HIMSELF

jr<] i]

9) Have scars on wrists, legs or neck (possibly self-inflicted) N

